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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

         UNITED STATES OF               §   CIVIL ACTION NO.
         AMERICA,                       §   4:21-cv-1349
                  Plaintiff,            §
                                        §
                vs.                     §   JUDGE CHARLES ESKRIDGE
                                        §
         $11,409.02 SEIZED              §
         FROM A COMERICA                §
         BANK ACCOUNT                   §
         ENDING IN 2113,                §
                      Defendant.        §

                  ORDER GRANTING DEFAULT JUDGMENT

                The motion for default judgment by Plaintiff the United
        States of America is granted. Dkt 12.
                The Government in April 2021 filed a verified complaint
        for forfeiture in rem against $11,409.02 seized from a Comerica
        Bank account ending in 2113 (“Defendant Property”) and alleged
        to constitute proceeds of a fraudulent loan application in
        violation of 18 U.S.C. § 1014 and wire fraud in violation of 18
        U.S.C. § 1343. Dkt 1. The complaint sets forth a sufficient
        factual and legal basis to establish the forfeiture of the Defendant
        Property pursuant to 18 U.S.C. § 981(a)(1)(C) as property which
        constitutes or is derived from proceeds traceable to specified
        unlawful activity.
                The Warrant of Arrest was executed in accordance with
        Rule G(3)(b)(i) of the Supplemental Rules for Admiralty or
        Maritime Claims and Asset Forfeiture Actions (the
        “Supplemental Rules”). Dkt 7. Notice of this forfeiture action
        was served on the account holder, Uddin Investments LLC,
        through its attorney and was published from April 24, 2021,
        through May 23, 2021, in accordance with Supplemental Rule
        G(4). Dkts 3, 8.
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               No person or entity has filed a claim or answer or
        otherwise responded to the complaint. The entry of default was
        thus deemed appropriate under Rule 55(a) of the Federal Rules
        of Civil Procedure. Dkt 11. The clerk entered default against
        Uddin Investments LLC and all other persons and entities with
        respect to the Defendant Property. Minute Entry of 07/26/2021.
               The Government has moved for a default and a final
        judgment of forfeiture pursuant to Rule 55(b) of the Federal
        Rules of Civil Procedure and Supplemental Rule G. Dkt 12. The
        Court finds the requested relief is appropriate, given the evidence
        presented by the Government, the sufficiency of the proceedings,
        and the failure of any party to assert otherwise. See United States v
        $44,860.00 in US Currency, 2010 WL 157538, *3 (ND Tex).
               The motion by Plaintiff the United States of America for
        default against the $11,409.02 is GRANTED. Dkt 12.
               The $11,409.02 seized from Comerica Bank Account
        x2113 is FORFEITED to the United States of America pursuant to
        18 USC § 981(a)(1)(C). All right, title, and interest in said
        $11,409.02 is vested in the United States of America.
               This is a FINAL JUDGMENT
               So ORDERED.

               Signed on _____________, 2021, at Houston, Texas.



                                      Hon. Charles Eskridge
                                      United States District Judge




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